Case 2:24-cv-01608-WSS   Document 35-6   Filed 01/23/25   Page 1 of 6



Exhibit B
Case 2:24-cv-01608-WSS   Document 35-6   Filed 01/23/25   Page 2 of 6
Case 2:24-cv-01608-WSS   Document 35-6   Filed 01/23/25   Page 3 of 6
Case 2:24-cv-01608-WSS   Document 35-6   Filed 01/23/25   Page 4 of 6
Case 2:24-cv-01608-WSS   Document 35-6   Filed 01/23/25   Page 5 of 6
Case 2:24-cv-01608-WSS   Document 35-6   Filed 01/23/25   Page 6 of 6
